Case 2:04 r-20156-.]P|\/| Document 51 Filed 05/25/05 PagelofS Page|D 80

1

 

 

 

   

FH.EU »)'= . , ….12»- DC' :‘;1_1__‘1']3‘
iN THE uNiTED sTATEs DisTRic'r coURT 1
05 10 125 1311 H@H€EFHE WEsTERN DisTchT oi= TENNEssEE 00 00 != 5
WEsTERN oivisioN
v 1511121‘ '1`7': f§FsOL’»O
Ni1‘; b TES ®PAMERiCA ) _1 7 \
1']1" ) 1 v ._"_"
Piaintiff, )
) Cr. No 04 20156-
1£1@.00
) forman QRANTEJ) _ m
FLYOD JOHNSON' ) S€MH/Cruq 12 T' Joxr PHIPPS woman
)73 W¢dn¢%,y __ U. Si. DIS_TRICT JUDGE
Defendant_ ) _; . mmw,-w_,, \ 1601
l 2)¢905@ .,?'¢50 2>,

 

 

JO|NT MOTION TO CONTINUE

 

Comes now the United States of America by and through its counsel, Terretl L.
Harris, United States Attomey for the Western District of `l`ennessee, and files its Joint
Motion to Continuance the sentencing hearing from the present setting of lVlay 26, 2005.
A continuance is needed due to the fact that counsel for the government will be out of
town. Additional time is also needed to address the issues set forth in the Presentence
Report. Counse| for the defendant has been contacted and has no objection to this
motion. Counsel forthe defendant has authorized the undersigned to style this motion as
a Joint l\/lotion to Continue.

Respectfu||y submitted,

TERRELL L. HARR|S
United States Attorney

By: jai 0_//.¢.¢-. -
V. RAE OLlVER
Assistant United States Attorn.ey
167 N. Main, Room 800
Memphis, TN 38103
(#18831 Tennessee)

`His doe .'ment en ered on .'l.e docket aheet ih corn§iiance
.1th Rule 05 and/or 32(b) FRCrP on

Case 2:04-cr-20156-.]PI\/| Document 51 Filed 05/25/05 Page 2 of 3 Page|D 81

CERT|F|CATE OF SERV|CE
I, V. Rae O|iver, Assistant United States Attorney for the Western District of
Tennessee, hereby certify that a copy of the foregoing Motion to Continue Sentencing

Date has been mailed, first class postage pre-paid, to l\/|arty B. McAfee, 246 Adams

Avenue, Mernphis, Tennessee 38103

Thiszr,_o‘rday of m, 2005.

78m ©,€,~»
V. RAE OLIVER
Assistant United States Attorney
167 N. Main, Room 800
Memphis, TN 38103

   

UNITED sTATE DRISTIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:04-CR-20156 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

